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 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Robert Duncan
 4
 5                        IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                               ) Case No.: 2:12-cr-00255-GEB
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                 Plaintiff,                  ) STIPULATION AND ORDER FOR
                                               ) CONTINUANCE OF JUDGMENT
10       vs.                                   )
     MATTHEW ROWAN DAVIES, et al.,             )
11                                             )
                   Defendants.                 )
12                                             )
13
14          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15   Judgment and Sentencing scheduled for August 16, 2013, at 9:00 a.m. is continued to
16   September 27, 2013, at 9:00 a.m. in the same courtroom. The continuance is requested
17   because defense counsel needs additional time to prepare for sentencing. Richard
18   Bender, Assistant United States Attorney, and Thomas A. Johnson, Defendant’s attorney,
19   agree to this continuance.
20
21   IT IS SO STIPULATED.
22
     DATED: August 14, 2013                         By:   /s/ Thomas A. Johnson
23                                                        THOMAS A. JOHNSON
                                                          Attorney for Defendant
24                                                        ROBERT DUNCAN
25
     DATED: August 14, 2013                               BENJAMIN B. WAGNER
26                                                        United States Attorney
27                                                  By:   /s/ Thomas A. Johnson for
                                                          RICHARD BENDER
28                                                        Assistant United States Attorney



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 1   IT IS SO ORDERED.
 2   Dated: August 15, 2013

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